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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   -------------------------------------------------------x
   IME WATCHDOG, INC.,

                                   Plaintiff,
                                                                   SECOND AMENDED PRELIMINARY
                     - against -                                            INJUNCTION
                                                                        22-CV-1032 (PKC) (JRC)
   SAFA ABDULRAHIM GELARDI, VITO
   GELARDI, GREGORY ELEFTERAKIS,
   ROMAN POLLAK, ANTHONY BRIDDA,
   IME COMPANIONS, LLC, CLIENT EXAM
   SERVICES, LLC, and IME MANAGEMENT
   & CONSULTING, LLC,

                                   Defendants.
   -------------------------------------------------------x
   SAFA GELARDI and IME COMPANIONS,
   LLC,

                                   Third-Party
                                   Plaintiffs,

                     - against -

   CARLOS ROA,

                                   Third-Party
                                   Defendant.
   --------------------------------------------------------x
   CARLOS ROA,

                                   Third-Party
                                   Counter-Claimant,

                     - against -

   SAFA ABDULRAHIM GELARDI, VITO
   GELARDI, and IME COMPANIONS, LLC,

                                   Third-Party Counter-
                                   Defendants.
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   PAMELA K. CHEN, United States District Judge:

           Upon consideration of Plaintiff’s second application for a preliminary injunction,

   Plaintiff’s memorandum of law and supplemental briefs filed in support thereof and the

   accompanying declarations, Defendants’ memorandum of law and supplemental brief filed in

   opposition thereto and the accompanying declarations, and the evidence presented at the show-

   cause hearing held on March 27, 2023; and

           Upon consideration of the Court’s Findings of Fact and Conclusions of Law, set forth in

   the Court’s Memorandum & Order dated October 20, 2023, that Plaintiff likely will succeed on

   the merits of this litigation, that Plaintiff will and has suffered irreparable harm if the requested

   relief is not granted in part, that the balance of hardships tips in Plaintiff’s favor, and that it is in

   the public’s interest for the Court to issue a preliminary injunction,

           IT IS THEREFORE ORDERED THAT:

   A.      Plaintiff’s application for a preliminary injunction is hereby GRANTED in part, and that

           Defendants, their agents, officers, and employees, and all other persons and entities in

           active concert or participation with them, are preliminarily enjoined from:

               1. using in any manner, whatsoever—including but not limited to transferring,

                   transmitting, selling, and/or giving to another individual or entity—Plaintiff’s trade

                   secrets, and confidential and proprietary information, in the nature of Plaintiff’s:

                   customer lists, customer information (including, but not limited to, customer

                   names, contact information, whether customers paid the issued invoices—and if

                   so—amounts paid, number of associate visits performed, nature of services

                   performed and hours spent servicing the customer, and customer’s preferences in

                   connection with the independent medical examinations); invoices; website; training


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                handbooks; independent medical examination reports; monthly, quarterly, and/or

                annual reports; internal memoranda; financial information (including, but not

                limited to, information regarding payroll, banking, and profit and loss); and

                employees and agents (including which customers they service, which doctors’

                independent medical examinations they observed and how long such examinations

                lasted, and how much they earn);

            2. providing any services to customers misappropriated from Plaintiff, including the

                customers identified on the Enjoined Customers List (attached as Exhibit A);

            3. contacting (or eliciting contact from) and/or surveilling Plaintiff’s current clients,

                employees, and agents;

            4. franchising IME Companions LLC; and

            5. destroying any documents, whether in hard copy and/or computerized and/or other

                electronic media format, that are presently in Defendants’ personal or corporate

                possession relating to IME Companions LLC, IME Watchdog, Inc., or any other

                matter relevant to this case.

   B.    Defendants are directed to return to Plaintiff all originals and copies of documents, records,

         and information, whether in hard copy and/or computerized and/or other electronic media

         form, that contain Plaintiff’s trade secrets, and confidential and proprietary information, in

         the nature of Plaintiff’s: invoices; website; training handbooks; independent medical

         examination reports; customer information (including, but not limited to, customer names,

         contact information, whether customers paid the issued invoices and if so, amounts paid,

         number of associate visits performed, nature of services performed and hours spent

         servicing the customer, and customer’s preferences in connection with the independent


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          medical examinations); monthly, quarterly, and/or annual reports; internal memoranda;

          financial information (including information regarding payroll, banking, and profit and

          loss); and employees and agents (including, but not limited to, which customers they

          service, which doctors’ independent medical examinations they observed and how long

          such examinations lasted, and how much they earn).

          This preliminary injunction shall continue until a final judgment or order is issued in this

   matter, unless otherwise modified in writing by the Court. Failure to comply with the preliminary

   injunction will result in findings of contempt and in sanctions.

                                                        SO ORDERED.


                                                        /s/ Pamela K. Chen
                                                        Pamela K. Chen
                                                        United States District Judge
   Dated: October 20, 2023
          Brooklyn, New York




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